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                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,     :
                              :
    v.                        :                 Case No. 1:21-cr-0091-RCL-01
                              :
CRAIG MICHAEL BINGERT, et al. :
    Defendant.                :

                      MOTION TO REQUEST THE COURT
                      TO SCHEDULE A STATUS HEARING

      COMES NOW Defendant, Craig Michael Bingert, by and through

undersigned counsel, and respectfully moves this Honorable Court to schedule a

status hearing on a date and time convenient to the Court and to the parties. As

grounds, the following is stated:

      1.      This motion is joined by counsel for defendant Isaac S. Sturgeon and

the government does not oppose this motion. On February 13, 2023, undersigned

counsel sent an e-mail to defendant Taylor J. Johnatakis, requesting his position on

this motion. On February 15, 2023, Mr. Johnatakis replied via e-mail, stating, “All,

Please communicate with by mail only. Look for my reply by mail shortly.”

      2.      Trial of this matter is scheduled for May 15, 2023. The Court has not

yet scheduled a pre-trial conference, or any other hearing dates. Furthermore, the

Court has not issued a Scheduling Order in anticipation of trial.

      3.      At this time the following pre-trial motions are pending:

      !       Motion to Sever Defendant by Isaac Steve Sturgeon. (Doc. 79)

      !       Motion to Change Venue by Isaac Steve Sturgeon. (Doc. 82)

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      !       Motion to Compel Discovery by Isaac Steve Sturgeon. (Doc. 83)

      !       Motion for Joinder of Co-defendant Sturgeon's Motions Nos. 82 & 83 by
              Craig Michael Bingert. (Doc. 86)

      !       Motion to Dismiss Count 4, 5, 6, 7, & 8 as Multiplicitous by Craig
              Michael Bingert. (Doc. 87)

      !       Motion for Joinder to Join Defendant Issac Steve Sturgeon's Motion for
              Severance (Dkt. 79) by Craig Michael Bingert. (Doc. 89)

      !       Motion for Joinder by Isaac Steve Sturgeon. (Doc. 90)

      !       Motion to Sever Defendant Pursuant to Fed. R. Crim. P 14(a) by Craig
              Michael Bingert. (Doc. 110)

      In addition, defendants Bingert and Sturgeon have each filed a Notice of

Public Authority Defense. (Docs. 84 & 88).

      WHEREFORE for the foregoing reasons and such other reasons that may

appear just and proper, the parties are requesting the Court to schedule a status

hearing, on a date and time convenient to the Court and to the parties.

                                        Respectfully Submitted,

                                                         Digitally signed
                                         Allen H.        by Allen H.
                                                         Orenberg
                                         Orenberg        Date: 2023.02.15
                                                         14:08:41 -05'00'
                                        ____________________________
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                                        The Orenberg Law Firm, P.C.
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                                        Cell-Phone (301) 807-3847
                                        aorenberg@orenberglaw.com
                                        Counsel for Mr. Craig Michael Bingert

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                         CERTIFICATE OF SERVICE

      I hereby certify that on the 15th day of February, 2023, copies of the

foregoing Motion to Request the Court to Schedule a Status Hearing, and a

proposed Order, were served to case registered parties by CM/ECF, and by mail to:

Taylor James Johnatakis
29628 Gamble Place NE
Kingston, Washington 98346-9560




                                                        Digitally signed
                                      Allen H.          by Allen H.
                                                        Orenberg
                                      Orenberg          Date: 2023.02.15
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                                      ____________________________
                                      Allen H. Orenberg, # 395519




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